Case 15-11569   Doc 185   Filed 07/02/18 Entered 07/02/18 16:27:20   Desc Main
                           Document     Page 1 of 7
Case 15-11569   Doc 185   Filed 07/02/18 Entered 07/02/18 16:27:20   Desc Main
                           Document     Page 2 of 7
Case 15-11569   Doc 185   Filed 07/02/18 Entered 07/02/18 16:27:20   Desc Main
                           Document     Page 3 of 7




                             Exhibit A
Case
Case15-11569
     15-11569 Doc
              Doc185
                  39 Filed
                     Filed05/29/15
                           07/02/18 Entered
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                                             07/02/1815:43:34
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                                         1 of 1
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Case 15-11569   Doc 185   Filed 07/02/18 Entered 07/02/18 16:27:20   Desc Main
                           Document     Page 5 of 7




                             Exhibit B
             Case 15-11569         Doc 185      Filed 07/02/18 Entered 07/02/18 16:27:20                  Desc Main
                                                 Document     Page 6 of 7
RPL-CPA
                                                                                                           Invoice
11 Fairmount Avenue, Suite 105
Hyde Park, MA 02136 US
617-274-8475
rpierre-louis@rpl-cpa.com




             BILL TO
             Loretta Kemp
             Tri-City Community Action Programs,
             Inc.
             Philip Bronder-Giroux
             110 Pleasant Street
             Malden, MA 02148
INVOICE #              DATE                TOTAL DUE                 DUE DATE            TERMS                ENCLOSED
401                    09/30/2015          $6,075.00                 10/01/2015          Due on receipt




DATE                    ACTIVITY                                                HOURS      RATE                          AMOUNT

05/06/2015              Audit support for forensic audit performed                7.50    150.00                         1,125.00
                        by Clifton Larson Allen LLP.
05/06/2015              Conference call with executive committee                    1     150.00                          150.00
                        to discuss open items for external audit and
                        bankruptcy schedule
05/06/2015              Preparation of #19 of financial affairs                   1.50    150.00                          225.00
                        document
05/11/2015              Preparation of 2014 IRS Form 990                          6.50    150.00                          975.00
                        questionaire from external auditor Jim
                        George
06/12/2015              Audit support for Worker's Comp audit                       6     150.00                          900.00
06/26/2015              Preparation of the Medford CDBG invoice                   3.50    150.00                          525.00
07/15/2015              Audit support for external audit, address                 6.50    150.00                          975.00
                        items remaining on open items list and
                        submitting documents needed to complete
                        the MA Form PC
08/31/2015              Audit support for Forensic Audit, pulling                   8     150.00                         1,200.00
                        archive files from storage facility
                                                                     BALANCE DUE
                                                                                                                 $6,075.00
Case 15-11569   Doc 185   Filed 07/02/18 Entered 07/02/18 16:27:20   Desc Main
                           Document     Page 7 of 7
